USDC IN/ND case 2:09-cr-00043-PPS-PRC   document 623   filed 04/28/15   page 1 of 2


               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION


 UNITED STATES OF AMERICA,                )
                                          )
 Plaintiff,                               )
                                          )
 vs.                                      )    NO. 2:09-cr-43
                                          )        2:13-cv-396
                                          )
 JUSTIN PHILLIP CEPHUS,                   )
                                          )
 Defendant.                               )

                           OPINION AND ORDER
       This matter is before the Court on the Affidavit Accompanying

 Motion for Permission to Appeal In Forma Pauperis, filed by

 Defendant, Justin Cephus (“Cephus”), on April 28, 2015 (DE #622).

 For the reasons set forth below, the motion is DENIED.

       On February 4, 2015, this Court entered an opinion and order

 denying Cephus’ motion under 18 U.S.C. section 2255, denying

 several related motions, denying his request for an evidentiary

 hearing, and declining to issue a certificate of appealability.

 (DE #608.)    Cephus subsequently filed a Motion for Appealability

 and Reconsideration, which was denied by this Court on April 8,

 2015. (DE #621.) In his current motion, Cephus requests permission

 to appeal in forma pauperis.

       Pursuant to 28 U.S.C. § 1915(a)(3), “An appeal may not be

 taken in forma pauperis if the trial court certifies in writing
USDC IN/ND case 2:09-cr-00043-PPS-PRC       document 623   filed 04/28/15   page 2 of 2


 that it is not taken in good faith.”              For the same reasons that

 Cephus was denied a certificate of appealability in this Court’s

 order of February 4, 2015 (DE #608), this appeal is not taken in

 good faith.

       For the foregoing reasons, the motion (DE #622) is DENIED.




 DATED:      April 28, 2015                   /s/ RUDY LOZANO, Judge
                                              United States District Court




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